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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—
                                    GENERAL

 Case No.      EDCV 21-01032-JWH (KKx)                              Date September 29, 2021
 Title Jackson National Life Insurance Company v. Alton Johnson, Sr., et al.



 Present: The Honorable         JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE


               Irene Vazquez                                         Not Reported
                Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
                None Present                                         None Present

 Proceedings: (IN CHAMBERS) Order to Show Cause re Dismissal for
              Lack of Prosecution
      Absent a showing of good cause, an action must be dismissed without
prejudice if the summons and complaint are not served on a Defendant within 90
days after the complaint is filed. Fed. R. Civ. Proc. 4(m).

        In the present case, it appears that Plaintiff has not served the summons and
complaint on one or more Defendants. Accordingly, the Court, on its own motion,
hereby orders Plaintiff to show cause in writing on or before October 13, 2021, why
this action should not be dismissed, with respect to each Defendant who has not
been served, for lack of prosecution. Pursuant to Rule 78 of the Federal Rules of
Civil Procedure, the Court finds that this matter is appropriate for submission
without oral argument. This Order to Show Cause will be discharged if Plaintiff
files, before the deadline set forth above, a proof of service of the summons and
complaint.

        IT IS SO ORDERED.




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